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                     EXHIBIT A
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                    Executive Order 14168 of January 20, 2025

                    Defending Women From Gender Ideology Extremism and Re-
                    storing Biological Truth to the Federal Government


                    By the authority vested in me as President by the Constitution and the
                    laws of the United States of America, including section 7301 of title 5,
                    United States Code, it is hereby ordered:
                    Section 1. Purpose. Across the country, ideologues who deny the biological
                    reality of sex have increasingly used legal and other socially coercive means
                    to permit men to self-identify as women and gain access to intimate single-
                    sex spaces and activities designed for women, from women’s domestic abuse
                    shelters to women’s workplace showers. This is wrong. Efforts to eradicate
                    the biological reality of sex fundamentally attack women by depriving them
                    of their dignity, safety, and well-being. The erasure of sex in language
                    and policy has a corrosive impact not just on women but on the validity
                    of the entire American system. Basing Federal policy on truth is critical
                    to scientific inquiry, public safety, morale, and trust in government itself.
                    This unhealthy road is paved by an ongoing and purposeful attack against
                    the ordinary and longstanding use and understanding of biological and
                    scientific terms, replacing the immutable biological reality of sex with an
                    internal, fluid, and subjective sense of self unmoored from biological facts.
                    Invalidating the true and biological category of “woman” improperly trans-
                    forms laws and policies designed to protect sex-based opportunities into
                    laws and policies that undermine them, replacing longstanding, cherished
                    legal rights and values with an identity-based, inchoate social concept.
                    Accordingly, my Administration will defend women’s rights and protect
                    freedom of conscience by using clear and accurate language and policies
                    that recognize women are biologically female, and men are biologically
                    male.
                    Sec. 2. Policy and Definitions. It is the policy of the United States to
                    recognize two sexes, male and female. These sexes are not changeable and
                    are grounded in fundamental and incontrovertible reality. Under my direc-
                    tion, the Executive Branch will enforce all sex-protective laws to promote
                    this reality, and the following definitions shall govern all Executive interpre-
                    tation of and application of Federal law and administration policy:
                       (a) “Sex” shall refer to an individual’s immutable biological classification
                    as either male or female. ‘‘Sex” is not a synonym for and does not include
                    the concept of “gender identity.”
                      (b) “Women” or “woman” and “girls” or “girl” shall mean adult and
                    juvenile human females, respectively.
                      (c) “Men” or “man” and “boys” or “boy” shall mean adult and juvenile
                    human males, respectively.
                      (d) “Female” means a person belonging, at conception, to the sex that
                    produces the large reproductive cell.
                      (e) “Male” means a person belonging, at conception, to the sex that pro-
                    duces the small reproductive cell.
                      ( “Gender ideology” replaces the biological category of sex with an
                    ever-shifting concept of self-assessed gender identity, permitting the false
                    claim that males can identify as and thus become women and vice versa,
                    and requiring all institutions of society to regard this false claim as true.
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                             Gender ideology includes the idea that there is a vast spectrum of genders
                             that are disconnected from one’s sex. Gender ideology is internally incon-
                             sistent, in that it diminishes sex as an identifiable or useful category but
                             nevertheless maintains that it is possible for a person to be born in the
                             wrong sexed body.
                               (g) ‘‘Gender identity’’ reflects a fully internal and subjective sense of
                             self, disconnected from biological reality and sex and existing on an infinite
                             continuum, that does not provide a meaningful basis for identification and
                             cannot be recognized as a replacement for sex.
                             Sec. 3. Recognizing Women Are Biologically Distinct From Men. (a) Within
                             30 days of the date of this order, the Secretary of Health and Human
                             Services shall provide to the U.S. Government, external partners, and the
                             public clear guidance expanding on the sex-based definitions set forth in
                             this order.
                               (b) Each agency and all Federal employees shall enforce laws governing
                             sex-based rights, protections, opportunities, and accommodations to protect
                             men and women as biologically distinct sexes. Each agency should therefore
                             give the terms ‘‘sex’’, ‘‘male’’, ‘‘female’’, ‘‘men’’, ‘‘women’’, ‘‘boys’’ and ‘‘girls’’
                             the meanings set forth in section 2 of this order when interpreting or
                             applying statutes, regulations, or guidance and in all other official agency
                             business, documents, and communications.
                               (c) When administering or enforcing sex-based distinctions, every agency
                             and all Federal employees acting in an official capacity on behalf of their
                             agency shall use the term ‘‘sex’’ and not ‘‘gender’’ in all applicable Federal
                             policies and documents.
                               (d) The Secretaries of State and Homeland Security, and the Director
                             of the Office of Personnel Management, shall implement changes to require
                             that government-issued identification documents, including passports, visas,
                             and Global Entry cards, accurately reflect the holder’s sex, as defined under
                             section 2 of this order; and the Director of the Office of Personnel Manage-
                             ment shall ensure that applicable personnel records accurately report Federal
                             employees’ sex, as defined by section 2 of this order.
                               (e) Agencies shall remove all statements, policies, regulations, forms, com-
                             munications, or other internal and external messages that promote or other-
                             wise inculcate gender ideology, and shall cease issuing such statements,
                             policies, regulations, forms, communications or other messages. Agency forms
                             that require an individual’s sex shall list male or female, and shall not
                             request gender identity. Agencies shall take all necessary steps, as permitted
                             by law, to end the Federal funding of gender ideology.
                               (f) The prior Administration argued that the Supreme Court’s decision
                             in Bostock v. Clayton County (2020), which addressed Title VII of the
                             Civil Rights Act of 1964, requires gender identity-based access to single-
                             sex spaces under, for example, Title IX of the Educational Amendments
                             Act. This position is legally untenable and has harmed women. The Attorney
                             General shall therefore immediately issue guidance to agencies to correct
                             the misapplication of the Supreme Court’s decision in Bostock v. Clayton
                             County (2020) to sex-based distinctions in agency activities. In addition,
                             the Attorney General shall issue guidance and assist agencies in protecting
                             sex-based distinctions, which are explicitly permitted under Constitutional
                             and statutory precedent.
                               (g) Federal funds shall not be used to promote gender ideology. Each
                             agency shall assess grant conditions and grantee preferences and ensure
                             grant funds do not promote gender ideology.
                             Sec. 4. Privacy in Intimate Spaces. (a) The Attorney General and Secretary
                             of Homeland Security shall ensure that males are not detained in women’s
                             prisons or housed in women’s detention centers, including through amend-
                             ment, as necessary, of Part 115.41 of title 28, Code of Federal Regulations
                             and interpretation guidance regarding the Americans with Disabilities Act.
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                        (b) The Secretary of Housing and Urban Development shall prepare and
                      submit for notice and comment rulemaking a policy to rescind the final
                      rule entitled ‘‘Equal Access in Accordance with an Individual’s Gender
                      Identity in Community Planning and Development Programs’’ of September
                      21, 2016, 81 FR 64763, and shall submit for public comment a policy
                      protecting women seeking single-sex rape shelters.
                         (c) The Attorney General shall ensure that the Bureau of Prisons revises
                      its policies concerning medical care to be consistent with this order, and
                      shall ensure that no Federal funds are expended for any medical procedure,
                      treatment, or drug for the purpose of conforming an inmate’s appearance
                      to that of the opposite sex.
                         (d) Agencies shall effectuate this policy by taking appropriate action to
                      ensure that intimate spaces designated for women, girls, or females (or
                      for men, boys, or males) are designated by sex and not identity.
                      Sec. 5. Protecting Rights. The Attorney General shall issue guidance to
                      ensure the freedom to express the binary nature of sex and the right to
                      single-sex spaces in workplaces and federally funded entities covered by
                      the Civil Rights Act of 1964. In accordance with that guidance, the Attorney
                      General, the Secretary of Labor, the General Counsel and Chair of the Equal
                      Employment Opportunity Commission, and each other agency head with
                      enforcement responsibilities under the Civil Rights Act shall prioritize inves-
                      tigations and litigation to enforce the rights and freedoms identified.
                      Sec. 6. Bill Text. Within 30 days of the date of this order, the Assistant
                      to the President for Legislative Affairs shall present to the President proposed
                      bill text to codify the definitions in this order.
                      Sec. 7. Agency Implementation and Reporting. (a) Within 120 days of the
                      date of this order, each agency head shall submit an update on implementa-
                      tion of this order to the President, through the Director of the Office of
                      Management and Budget. That update shall address:
                         (i) changes to agency documents, including regulations, guidance, forms,
                         and communications, made to comply with this order; and
                        (ii) agency-imposed requirements on federally funded entities, including
                        contractors, to achieve the policy of this order.
                        (b) The requirements of this order supersede conflicting provisions in
                      any previous Executive Orders or Presidential Memoranda, including but
                      not limited to Executive Orders 13988 of January 20, 2021, 14004 of January
                      25, 2021, 14020 and 14021 of March 8, 2021, and 14075 of June 15, 2022.
                      These Executive Orders are hereby rescinded, and the White House Gender
                      Policy Council established by Executive Order 14020 is dissolved.
                         (c) Each agency head shall promptly rescind all guidance documents incon-
                      sistent with the requirements of this order or the Attorney General’s guidance
                      issued pursuant to this order, or rescind such parts of such documents
                      that are inconsistent in such manner. Such documents include, but are
                      not limited to:
                         (i) ‘‘The White House Toolkit on Transgender Equality’’;
                        (ii) the Department of Education’s guidance documents including:
                          (A) ‘‘2024 Title IX Regulations: Pointers for Implementation’’ (July 2024);
                          (B) ‘‘U.S. Department of Education Toolkit: Creating Inclusive and Non-
                        discriminatory School Environments for LGBTQI+ Students’’;
                          (C) ‘‘U.S. Department of Education Supporting LGBTQI+ Youth and
                        Families in School’’ (June 21, 2023);
                          (D) ‘‘Departamento de Educación de EE.UU. Apoyar a los jóvenes y
                        familias LGBTQI+ en la escuela’’ (June 21, 2023);
                          (E) ‘‘Supporting Intersex Students: A Resource for Students, Families,
                        and Educators’’ (October 2021);
                          (F) ‘‘Supporting Transgender Youth in School’’ (June 2021);
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                                           (G) ‘‘Letter to Educators on Title IX’s 49th Anniversary’’ (June 23, 2021);
                                           (H) ‘‘Confronting Anti-LGBTQI+ Harassment in Schools: A Resource
                                         for Students and Families’’ (June 2021);
                                           (I) ‘‘Enforcement of Title IX of the Education Amendments of 1972
                                         With Respect to Discrimination Based on Sexual Orientation and Gender
                                         Identity in Light of Bostock v. Clayton County’’ (June 22, 2021);
                                          (J) ‘‘Education in a Pandemic: The Disparate Impacts of COVID–19 on
                                         America’s Students’’ (June 9, 2021); and
                                           (K) ‘‘Back-to-School Message for Transgender Students from the U.S.
                                         Depts of Justice, Education, and HHS’’ (Aug. 17, 2021);
                                         (iii) the Attorney General’s Memorandum of March 26, 2021 entitled ‘‘Ap-
                                         plication of Bostock v. Clayton County to Title IX of the Education Amend-
                                         ments of 1972’’; and
                                         (iv) the Equal Employment Opportunity Commission’s ‘‘Enforcement Guid-
                                         ance on Harassment in the Workplace’’ (April 29, 2024).
                                       Sec. 8. General Provisions. (a) Nothing in this order shall be construed
                                       to impair or otherwise affect:
                                         (i) the authority granted by law to an executive department or agency,
                                         or the head thereof; or
                                         (ii) the functions of the Director of the Office of Management and Budget
                                         relating to budgetary, administrative, or legislative proposals.
                                         (b) This order shall be implemented consistent with applicable law and
                                       subject to the availability of appropriations.
                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.
                                         (d) If any provision of this order, or the application of any provision
                                       to any person or circumstance, is held to be invalid, the remainder of
                                       this order and the application of its provisions to any other persons or
                                       circumstances shall not be affected thereby.




                                       THE WHITE HOUSE,
                                       January 20, 2025.


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